Case 2:19-cv-14339-JEM Document 4 Entered on FLSD Docket 09/12/2019 Page 1 of 9



                          UNITED STATES DISTRICT COURT FOR THE
                              SOUTHERN DISTRICT OF FLORIDA
                                  FORT PIERCE DIVISION

                       Case Number: 19-14339-CIV-MARTINEZ-MAYNARD

 NICHOLAS J. BARSON,

         Plaintiff,

 vs.

 CREDIT COLLECTION SERVICES, INC. and
 QUEST DIAGNOSTIC, INC.,

       Defendants.
 _____________________________________/

                ORDER REQUIRING PARTIES TO MEET AND FILE
            JOINT SCHEDULING REPORT AND PROPOSED ORDER AND
       DIRECTING PARTIES TO FILE CERTIFICATES OF INTERESTED PARTIES

         THIS MATTER came before the Court upon a sua sponte review of the file. To
 efficiently, expeditiously, and economically resolve this dispute, it is hereby:
         ORDERED:
         1.      Plaintiff shall forward a copy of this Order to all Defendants, upon notice or
 appearance of defense counsel or pro se Defendant.
         2.      Discovery in this case shall be conducted in accordance with the Federal Rules of
 Civil Procedure and Southern District of Florida Local Rules, except the deadlines under Local
 Rules 16.1(d), (e), (h), (j), (k), and (l), may be modified by further order of the Court.
         3.      WITHIN TWENTY (20) DAYS OF THE APPEARANCE OF A
 DEFENDANT, counsel and pro se litigants shall file a Joint Scheduling Report and Joint
 Proposed Scheduling Order pursuant to Local Rule 16.1(b), with a complete service list
 containing the name, address, phone number, fax number, and party represented by each counsel
 or pro se litigant.
         4.      Counsel for the parties and pro se litigants shall meet in person for a scheduling
 conference. At this conference, the parties shall accomplish the following: (1) determine the
 appropriate case management track for the action; (2) develop a case management plan which
Case 2:19-cv-14339-JEM Document 4 Entered on FLSD Docket 09/12/2019 Page 2 of 9


 sets deadlines in compliance with paragraphs A, B, and C of this Order; and (3) discuss
 settlement, in good faith.
                A.      The Joint Scheduling Report shall include all information required by the
 eleven subsections, (A) through (K), of Local Rule 16.1(b)(2). IN ADDITION TO THE
 INFORMATION REQUIRED BY THAT RULE, THE REPORT SHALL INCLUDE THE
 FOLLOWING: (1) whether the trial will be jury or non-jury; (2) an outline of the legal
 elements of each claim and defense raised by the pleadings (the parties are advised that this
 section shall not be a summary of allegations, but should be modeled on pattern substantive jury
 instructions applicable in this Court); (3) a good faith estimate of the specific dollar valuation of
 actual damages and other relief at issue; and (4) the need for variance from the discovery
 limitations imposed by Local Rule and/or the Federal Rules of Civil Procedure, including the
 grounds supporting the requested variance. In total, the Joint Scheduling Report shall have
 fifteen numerical sections containing the above required information (eleven to comply with the
 Local rule, and four to comply with the additional requirements of this Order). Unilateral
 submissions are prohibited.
                B.      As an attachment to the parties’ Joint Scheduling Report, and in
 compliance with Local Rule 16.1(b)(2), the parties shall jointly complete Attachment A to this
 Order. The parties shall insert the specific day, month, and year for each listed deadline that
 applies to the parties’ case management plan. In completing Attachment A, the parties shall
 take into consideration the suggested pretrial deadlines for a case set out in Attachment B to this
 Order (attachment B contains suggested deadlines for the standard case management track;
 attachment C contains suggested deadlines for the expedited case management track. See Local
 Rule 16.1.(a)(2). If the parties agree that one or more of the proposed deadlines (such as “expert
 witness deadlines”) is not appropriate for this action, they may strike the language and omit that
 proposed deadline on Attachment A. The parties’ proposed dates shall include: (1) at least
 eight (8) weeks between the deadline for all pretrial dispositive motions and the proposed trial
 date; and (2) at least two (2) weeks between the deadline for the pretrial stipulation and the
 proposed trial date.
                C.      As part of the Joint Scheduling Report, the parties shall jointly complete
 and file with the Court the Magistrate Judge Jurisdiction Election Form appended to this Order as

                                                  -2-
Case 2:19-cv-14339-JEM Document 4 Entered on FLSD Docket 09/12/2019 Page 3 of 9


 Attachment D. The Court will not accept unilateral submissions in this regard; thus, a “Yes”
 should be checked only if all parties agree. If the parties consent to a full disposition of the case
 by the Magistrate Judge, including trial and entry of final judgment, the parties shall jointly file
 the election form appended to this Order as Attachment E.
          5.    The foregoing information will aid the Court in its management of this case,
 including the expeditious resolution of any discovery disputes, and help the parties focus on the
 key issues of the case at an early stage in the proceedings. Accordingly, the parties' failure to
 file a joint scheduling report or otherwise comply with this Order shall result in dismissal,
 default, or the imposition of other appropriate sanctions, including attorney’s fees and
 costs.
          IT IS FURTHER ORDERED:
          6.    The parties are to submit Certificates of Interested Parties and Corporate
 Disclosure Statements. The Plaintiff, Defendants, Intervenors, and Amicus Curiae, including
 governmental parties SHALL FILE a Certificate of Interested Persons and Disclosure Statement,
 which shall contain a complete list of persons, associated persons, firms, partnerships or
 corporations that have a financial interest in the outcome of this case, including ALL
 subsidiaries, conglomerates, affiliates, parent corporations, and other identifiable legal entities
 related to a party. At a minimum, this list should include the parties and any counsel that have
 appeared in this case. Next to each name should be the reason why such person or entity has a
 financial interest in the outcome of this case. For example, ABC Law Firm - counsel for Plaintiff
 XYZ Corporation. Each party shall file the original Certificate by the later of (a) 15 days from
 the date of this Order; or (b) if a party has not appeared in the case as of the date of this Order,
 then such party may have until 15 days from the date of such party's initial appearance.
 Throughout the pendency of this action, the parties shall be under a continuing duty to amend,
 correct, and update the Certificate. The parties SHALL NOT include the names of the
 assigned District Judge and Magistrate Judge, merely by virtue of this case being assigned
 to them.
          7.    Every motion filed in this case shall be accompanied by one proposed original
 order granting the motion.
          8.    The parties shall be under a continuing duty to ensure the Clerk of the Court is

                                                   -3-
Case 2:19-cv-14339-JEM Document 4 Entered on FLSD Docket 09/12/2019 Page 4 of 9


 provided with the up-to-date service information.
         9.    The parties SHALL NOT provide courtesy copies to Chambers, unless requested,
 in accordance with Local Rule 5.1.C.
         DONE AND ORDERED in Chambers at Miami, Florida, this 12th day of September,
 2019.


                                                      ______________________________
                                                      JOSE E. MARTINEZ
                                                      UNITED STATES DISTRICT JUDGE

 Copies provided to:
 Magistrate Judge Maynard
 All Counsel of Record




                                                -4-
  Case 2:19-cv-14339-JEM Document 4 Entered on FLSD Docket 09/12/2019 Page 5 of 9



                                  Pretrial Deadlines and Trial Date

DATE
month/day/year

_________________ Joinder of Additional Parties and motions for class certification.

_________________ Parties shall exchange expert witness summaries and reports.

_________________ Parties shall exchange written lists containing the names and addresses of all
                  witnesses intended to be called at trial and only those witnesses listed shall be
                  permitted to testify.

_________________ Parties exchange rebuttal expert witness summaries and reports. Note: These
                  provisions pertaining to expert witnesses do not apply to treating physicians,
                  psychologists or other health providers (if a Daubert or Markman hearing may be
                  necessary, the parties are to add that as an additional deadline at the bottom of
                  Attachment A).

_________________ All discovery, including expert discovery, shall be completed.

_________________ A mediator must be selected.

_________________ All summary judgment, Daubert, and other dispositive motions must be filed. A
                  minimum of eight (8) weeks is required for the Court to review dispositive
                  motions prior to filing of the joint pretrial stipulation. If no dispositive motions
                  will be filed, clearly note this fact in the Joint Scheduling Report.

_________________ Mediation shall be completed.

_________________ All Pretrial Motions and Memoranda of Law must be filed.

_________________ Joint Pretrial Stipulation must be filed.

_________________ Proposed jury instructions and/or proposed findings of fact and conclusions of law
                  must be filed.

_________________ Deposition designations must be filed.

_________________ Beginning of Trial Period.

_________________ Additional deadlines (please specify).




                                            [Attachment A]
Case 2:19-cv-14339-JEM Document 4 Entered on FLSD Docket 09/12/2019 Page 6 of 9


                         SUGGESTED PRETRIAL DEADLINES
                       STANDARD CASE MANAGEMENT TRACK

   Days Before
   Beginning of
   Trial Period

   240 days       Joinder of Additional Parties and motions for class certification.

   210 days       Parties shall exchange expert witness summaries and reports.

   200 days       Parties shall exchange written lists containing the names and addresses of all
                  witnesses intended to be called at trial and only those witnesses listed shall be
                  permitted to testify.

   180 days       Parties exchange rebuttal expert witness summaries and reports. Note: These
                  provisions pertaining to expert witnesses do not apply to treating physicians,
                  psychologists or other health providers (if a Daubert or Markman hearing may be
                  necessary, the parties are to add that as an additional deadline at the bottom of
                  Attachment A).

   130 days       All discovery, including expert discovery, shall be completed.

   120 days       A mediator must be selected.

   100 days       All Daubert motions must be filed. All summary judgment and other dispositive
                  motions must be filed. A minimum of eight (8) weeks is required for the Court to
                  review dispositive motions prior to filing of the joint pretrial stipulation. If no
                  dispositive motions will be filed, clearly note this fact in the Joint Scheduling
                  Report.

   60 days        Mediation shall be completed.

   45 days        All Pretrial Motions and Memoranda of Law must be filed.

   30 days        Joint Pretrial Stipulation must be filed.

   7 days         Proposed jury instructions and/or proposed findings of fact and conclusions of law
                  must be filed.

   1 day          Deposition designations must be filed.




                                          [Attachment B]
Case 2:19-cv-14339-JEM Document 4 Entered on FLSD Docket 09/12/2019 Page 7 of 9


                         SUGGESTED PRETRIAL DEADLINES
                       EXPEDITED CASE MANAGEMENT TRACK

   Days Before
   Beginning of
   Trial Period

   130 days       Joinder of Additional Parties and motions for class certification.

   120 days       Parties shall exchange expert witness summaries and reports as required by Local
                  Rule 16.1.K.

   110 days       Parties shall exchange written lists containing the names and addresses of all
                  witnesses intended to be called at trial and only those witnesses listed shall be
                  permitted to testify.

   100 days       Parties exchange rebuttal expert witness summaries and reports as required by
                  Local Rule 16.1.K. Note: These provisions pertaining to expert witnesses do not
                  apply to treating physicians, psychologists or other health providers (if a Daubert or
                  Markman hearing may be necessary, the parties are to add that as an additional
                  deadline at the bottom of Attachment A).

   75 days        All discovery, including expert discovery, shall be completed.

   70 days        All summary judgment, Daubert, and other dispositive motions must be filed. A
                  minimum of eight (8) weeks is required for the Court to review dispositive
                  motions prior to filing of the joint pretrial stipulation. If no dispositive motions
                  will be filed, clearly note this fact in the Joint Scheduling Report.

   60 days        A mediator must be selected.

   30 days        Mediation shall be completed.

   30 days        All Pretrial Motions and Memoranda of Law must be filed.

   10 days        Joint Pretrial Stipulation must be filed.

   7 days         Proposed jury instructions and/or proposed findings of fact and conclusions of law
                  must be filed.

   1 day          Deposition designations must be filed.




                                          [Attachment C]
  Case 2:19-cv-14339-JEM Document 4 Entered on FLSD Docket 09/12/2019 Page 8 of 9


                            UNITED STATES DISTRICT COURT FOR THE
                                SOUTHERN DISTRICT OF FLORIDA
                                      Fort Pierce Division

                       Case Number: 19-14339-CIV-MARTINEZ-MAYNARD

NICHOLAS J. BARSON,

       Plaintiff,

vs.

CREDIT COLLECTION SERVICES, INC. and
QUEST DIAGNOSTIC, INC.,

      Defendants.
_____________________________________/

                 ELECTION TO JURISDICTION BY A UNITED STATES
              MAGISTRATE JUDGE FOR FINAL DISPOSITION OF MOTIONS

       In accordance with the provisions of 28 U.S.C. §636(c), the undersigned parties to the above-
captioned civil matter hereby jointly and voluntarily elect to have a United States Magistrate Judge
decide the following motions and issue a final order or judgment with respect thereto:
       1.      Motions for Costs                     Yes _____      No _____
       2.      Motions for Attorney’s Fees           Yes _____      No _____
       3.      Motions for Sanctions                 Yes _____      No _____
       4.      Motions to Dismiss                    Yes _____      No _____
       5.      Motions for Summary Judgment          Yes _____      No _____
       6.      Discovery                             Yes _____      No _____
       7.      Other (specify) _______________________________________

       ____________                    ________________________________________
       (Date)                          (Signature--Plaintiff’s Counsel)

       ____________                    ________________________________________
       (Date)                          (Signature--Plaintiff’s Counsel)

       ____________                    ________________________________________
       (Date)                          (Signature--Defendant’s Counsel)

       ____________                    ________________________________________
       (Date)                          (Signature--Defendant’s Counsel)

                                           [Attachment D]
  Case 2:19-cv-14339-JEM Document 4 Entered on FLSD Docket 09/12/2019 Page 9 of 9


                         UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF FLORIDA
                                   Fort Pierce Division

                    Case Number: 19-14339-CIV-MARTINEZ-MAYNARD

NICHOLAS J. BARSON,

       Plaintiff,

vs.

CREDIT COLLECTION SERVICES, INC. and
QUEST DIAGNOSTIC, INC.,

      Defendants.
_____________________________________/

                          ELECTION TO JURISDICTION BY A
                    UNITED STATES MAGISTRATE JUDGE FOR TRIAL

       In accordance with the provisions of 28 U.S.C. §636(c), the undersigned parties to the above-
captioned civil matter hereby jointly and voluntarily elect to have a United States Magistrate Judge
conduct any and all further proceedings in the case, including TRIAL, and entry of final judgment with
respect thereto.

       ____________                  __________________________________
       (Date)                        (Signature--Plaintiff’s Counsel)

       ____________                  __________________________________
       (Date)                        (Signature--Plaintiff’s Counsel)

       ____________                  __________________________________
       (Date)                        (Signature--Defendant’s Counsel)

       ____________                  __________________________________
       (Date)                        (Signature--Defendant’s Counsel)




                                           [Attachment E]
